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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

STATE OF MARYLAND, et al.,                         *

       Plaintiffs,                                 *

v.                                                 *          Civ. No. DLB-25-1363

CORPORATION FOR NATIONAL AND                       *
COMMUNITY SERVICE, operating as
AmeriCorps, et al.,                                *

       Defendants.                                 *

                                              ORDER

       For the reasons stated in the memorandum opinion issued today, in accordance with

Federal Rule of Civil Procedure 65(b), and upon finding that the defendants likely violated the

Administrative Procedure Act by failing to engage in notice-and-comment rulemaking before

making significant changes to service delivery, that the plaintiffs will be irreparably harmed if this

injunction does not issue, and that the balance of the equities and the public interest favor an

injunction, it is this 5th day of June, 2025, hereby ORDERED:

       1. The motion for a preliminary injunction, ECF 5, filed by State of Maryland; State of

           Delaware; State of California; State of Colorado; State of Arizona; State of

           Connecticut; District of Columbia; State of Hawai‘i; State of Illinois; Office of the

           Governor ex rel. Andy Beshear, in his official capacity as Governor of the

           Commonwealth of Kentucky; State of Maine; Commonwealth of Massachusetts;

           People of the State of Michigan; State of Minnesota; State of Nevada; State of New

           Jersey; State of New Mexico; State of New York; State of North Carolina; State of

           Oregon; Josh Shapiro, in his official capacity as Governor of the Commonwealth of
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   Pennsylvania; State of Rhode Island; State of Vermont; State of Washington; and State

   of Wisconsin, is GRANTED in part as follows:

   a. The defendants Corporation for National and Community Service (“AmeriCorps”)

      and Jennifer Bastress Tahmasebi and their officers, agents, servants, employees,

      and attorneys are ENJOINED from effectuating and enforcing in the plaintiff states

      the April 25, 2025 termination of grants, the instruction to grant recipients to cease

      all award activities, the removal of Volunteers in Service to America (“VISTA”)

      members from projects, the requirement that AmeriCorps members’ activities

      cease, and the exiting of AmeriCorps members for compelling personal

      circumstances.

   b. The defendants shall RESTORE the affected AmeriCorps programs in the plaintiff

      states to the status quo prior to the April 25, 2025 grant terminations by

      REINSTATING the grants in the plaintiff states that were terminated and by

      RETURNING to service the AmeriCorps and VISTA members who were serving

      on those programs as of the date of the grant terminations (if they are willing and

      able to return).

   c. The defendants are ENJOINED from effectuating and enforcing the April 15, 2025

      removal of National Civilian Community Corps (“NCCC”) members from service.

   d. The defendants shall RESTORE the NCCC members to the status quo before the

      April 15, 2025 communication that AmeriCorps was sending all NCCC members

      to their homes of record and placing them on administrative hold through April 30,

      2025 pending their exit from the NCCC program by RETURNING the impacted

      NCCC members to service (if they are willing and able to return).




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   e. The defendants must COMPLY with the notice-and-comment requirement in the

      Further Consolidated Appropriations Act, 2024, Pub. L. No. 118-47, § 401, 138

      Stat. 460, 695, incorporated by reference in the Full-Year Continuing

      Appropriations and Extensions Act, 2025, Pub. L. No. 119-4, § 1101(a), 139 Stat.

      9, 10–11, before making any significant changes in service delivery, including

      significant changes like the mass closure of AmeriCorps programs that occurred on

      April 25, 2025 and the April 15, 2025 removal of NCCC members from service.

   f. This Order does not preclude the defendants or their officers, agents, servants,

      employees, or attorneys from suspending or terminating individual AmeriCorps

      grants for failure to abide by the terms and conditions of individual grants or the

      statutory requirements for grantees; discharging individual AmeriCorps and VISTA

      members for cause or compelling personal circumstances; or dismissing individual

      NCCC members consistent with applicable law.

   g. By June 6, 2025, at 5:00 p.m., the defendants shall PROVIDE written notice of this

      Order to the recipients of the terminated awards in the plaintiff states, the impacted

      VISTA project sponsors in the plaintiff states, the impacted AmeriCorps members

      and VISTA members in the plaintiff states, and the removed NCCC members.

   h. By June 10, 2025, at 5:00 p.m., the defendants shall FILE a status report

      documenting the actions they have taken to comply with this Order.

   i. Pursuant to Federal Rule of Civil Procedure 65(c), the plaintiffs shall POST A

      BOND of one hundred dollars ($100) per plaintiff with the Clerk of the Court by

      5:00 p.m. on June 10, 2025.

   j. This preliminary injunction shall REMAIN in effect until further order of the Court.




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       2. The motion for a preliminary injunction is DENIED as to the request to vacate the April

           16, 2025 placement of AmeriCorps staff on administrative leave and the subsequent

           reduction in force for AmeriCorps staff;

       3. All other relief requested by the plaintiffs in the motion for a preliminary injunction

           not addressed in this Order is DENIED;

       4. The motion for a stay pursuant to 5 U.S.C. § 705, ECF 5, is DENIED as moot; and

       5. The defendants’ request to stay this order for seven days, ECF 106, at 10, is DENIED. 1



                                                           ______________________
                                                           Deborah L. Boardman
                                                           United States District Judge




1
 The defendants asked for a stay in their opposition to the preliminary injunction motion. They
may file a motion to stay pending appeal pursuant to Fed. R. App. P. 8 if they believe a stay is
warranted.


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